









Dismissed and Memorandum Opinion filed May 13, 2004









Dismissed and Memorandum Opinion filed May 13, 2004.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00313-CR

____________

&nbsp;

ERNEST L.
McKNIGHT, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
337th District Court

Harris County,
Texas

Trial Court Cause No. 952,042

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to aggravated assault.&nbsp; In accordance with the terms of a plea
bargain agreement with the State, on March 9, 2004, the trial court sentenced
appellant to confinement for seventeen years in the Institutional Division of
the Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 13, 2004.

Panel consists of Chief Justice
Hedges and Justices Frost and Guzman. 

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





